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                      UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION



JOHN L. BULLOCK,

            Plaintiff,

V.                                                   NO. 10-2482-Ma

WORLD SAVINGS BANK, FSB,
et al.,

            Defendants.




                              JUDGMENT

     Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

     IT IS ORDERED AND ADJUDGED that this action is dismissed in
accordance with the Order of Dismissal, docketed March 21, 2011.
Any appeal in this matter by Plaintiff, proceeding in forma
pauperis, is not taken in good faith.


APPROVED:



S/ Samuel H. Mays Jr.
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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

March 21, 2011                           THOMAS M. GOULD
DATE                                     CLERK
                                         S/ Jean Lee
                                         (By) DEPUTY CLERK
